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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                          )
ASFANEH AZADEH,                           )
                                          )
              Plaintiff,                  )
                                          )
              v.                          )      No. 1:16-cv-1467 (KBJ)
                                          )
GOVERNMENT OF THE ISLAMIC                 )
REPUBLIC OF IRAN, et al.,                 )
                                          )
              Defendants.                 )
                                          )

                                         ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that Plaintiff’s [13] Motion for Default Judgment is DENIED

without prejudice due to this Court’s lack of personal jurisdiction over Defendants . It is

       FURTHER ORDERED that the Court will STAY its consideration of the

Magistrate Judge’s [27] Report and Recommendation in all other respects, until

Plaintiff has established personal jurisdiction over Defendants.



DATE: July 9, 2018                        Ketanji Brown Jackson
                                          KETANJI BROWN JACKSON
                                          United States District Judge
